Case: 1:18-cv-05587 Document #: 1147-38 Filed: 01/27/22 Page 1 of 4 PageID #:55137




From:                   Ioana Salajanu
Sent:                   Mon, 18 Sep 2017 16:58:40 +0000
To:                     Tyler DeRoo
Subject:                FW: Bloomfield Payoffs
Attachments:            EBF 7836 S South Shore Payoff.pdf, EBF 7625 S East End Payoff.pdf, EBF 7635 S
East End Payoff.pdf, EBF 7201 S Constance Payoff.pdf, 3074 E Cheltenham Release.pdf, 7625 S East End
Release.pdf, 7635 S East End Release.pdf, 7201 S Constance Release.pdf


I need all of these updated through Sept 30

Ioana Salajanu
Rock Fusco & Connelly, LLC
321 N. Clark Street
Suite 2200
Chicago, Illinois 60654
312.494.1000 (p)
312.377.5750 (d)
312.494.1001 (f)
Isalajanu@rfclaw.com
www.rfclaw.com



From: Ioana Salajanu
Sent: Friday, September 08, 2017 11:33 AM
To: 'Bagchi, Kasturi' <KBagchi@honigman.com>
Cc: Patty San Martin <PSanMartin@rfclaw.com>
Subject: FW: Bloomfield Payoffs

Payoffs

Ioana Salajanu
Rock Fusco & Connelly, LLC
321 N. Clark Street
Suite 2200
Chicago, Illinois 60654
312.494.1000 (p)
312.377.5750 (d)
312.494.1001 (f)
Isalajanu@rfclaw.com
www.rfclaw.com



From: Tyler DeRoo [mailto:tyler@equitybuild.com]
Sent: Friday, September 08, 2017 10:39 AM
To: Ioana Salajanu <Isalajanu@rfclaw.com>
Case: 1:18-cv-05587 Document #: 1147-38 Filed: 01/27/22 Page 2 of 4 PageID #:55138




Cc: Patty San Martin <PSanMartin@rfclaw.com>
Subject: Fwd: Bloomfield Payoffs


Tyler DeRoo
tyler@equitybuild.com
C. 847.420.2095



       Begin forwarded message:

       From: Elizabeth Kammerer <elizabeth@equitybuildfinance.com>
       Subject: Re: Bloomfield Payoffs
       Date: September 8, 2017 at 10:36:25 AM CDT
       To: Shaun Cohen <shaun@equitybuild.com>
       Cc: Tyler DeRoo <tyler@equitybuild.com>, Ronald Bol <ron@equitybuild.com>

       Attached updated payoffs plus releases


                        Virus-free. www.avast.com




       Thanks,

       Mrs. Elizabeth Kammerer Document Control Manager, EquityBuild Finance,
       LLC
       Tel: (877) 978-1916 x 1804 | Mobile: (469) 910-9790 | Fax: (877) 978-
       2727 | www.equitybuildfinance.com



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       or hard copy format.

       On Thu, Sep 7, 2017 at 5:34 PM, Shaun Cohen <shaun@equitybuild.com> wrote:
         Yes
Case: 1:18-cv-05587 Document #: 1147-38 Filed: 01/27/22 Page 3 of 4 PageID #:55139




       Thanks,

       Shaun Cohen Vice President, EquityBuild, Inc
       Tel: (877) 978-1869 x 1807 | Mobile: (215) 407-5777 | Fax: (239) 244-8666
       shaun@equitybuild.com | www.equitybuild.com

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       format.


       On Thu, Sep 7, 2017 at 6:34 PM, Elizabeth Kammerer
       <elizabeth@equitybuildfinance.com> wrote:
         Shaun do you want these sent to 8783?

         On Sep 7, 2017 3:40 PM, "Tyler DeRoo" <tyler@equitybuild.com> wrote:
           We need Payoffs to be remitted to EBF not EB, the optics aren’t good. Can
           you change the account name? It references EB in the top half and EBF in
           the bottom half, need it all to be EBF.

           Tyler DeRoo
           tyler@equitybuild.com
           C. 847.420.2095


                  On Sep 7, 2017, at 2:29 PM, Elizabeth Kammerer
                  <elizabeth@equitybuildfinance.com> wrote:

                  Attached
                  Do you als




                  Thanks,

                  Mrs. Elizabeth Kammerer Document Control Manager,
                  EquityBuild Finance, LLC
Case: 1:18-cv-05587 Document #: 1147-38 Filed: 01/27/22 Page 4 of 4 PageID #:55140



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                9790 | Fax: (877) 978-2727 | www.equitybuildfinance.com



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                On Thu, Sep 7, 2017 at 12:41 PM, Tyler DeRoo
                <tyler@equitybuild.com> wrote:
                  Elizabeth,

                  I need payoff quotes though the end of next week for the
                  following:

                  7836 S South Shore (Cheltenham) - $1,150,000
                  7625 S East End - $1,170,000
                  7635 S East End - $1,210,000
                  7201 S Constance - $1,350,000

                  Let me know if you have any questions.

                  Tyler DeRoo
                  tyler@equitybuild.com
                  C. 847.420.2095




                <EB 7836 S South Shore Payoff.pdf><EB 7625 S East End
                Payoff.pdf><EB 7635 S East End Payoff.pdf><EB 7201 S
                Constance Payoff.pdf>
